          Case 2:23-cv-00014-AM Document 27 Filed 06/02/23 Page 1 of 9




                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                  DEL RIO DIVISION


 JASMINE C., an individual and on behalf of
 M.C., a minor and her child, et al.

        Plaintiffs,

 v.                                                         Civil Action No.: 2:23-cv-00014-AM

 DANIEL DEFENSE, LLC; DANIEL
 DEFENSE, INC; OASIS OUTBACK, LLC;
 and DOES 1-300,

 Defendants.


 PLAINTIFFS’ RESPONSE TO COURT’S ORDER TO SHOW CASE RE DISMISSAL

                                         (ECF DOC. 26)

                                       INTRODUCTION

       For the reasons set forth more fully below and in the Declaration of Charles A. Bonner,

filed concurrently, there is good cause for this court to order Plaintiffs to serve the defendants

within a specified time. Fed. R. Civ. P. 4(m) rather than dismissing the action without prejudice.

Since filing the complaints in this case and in the companion case J.P., a minor, et al. v. THE

UVALDE CONSOLIDATED INDEPENDENT SCHOOL DISTRICT, et al. Case No. 2:23-CV-

00015-AM, Plaintiffs have been working to resolve legal issues raised by multiple defendants. To

this end, Plaintiffs have amended the complaints in both actions and have filed a motion to further

amend the complaint in the companion case to add the claims against DEFENDANTS DANIEL

DEFENSE, LLC; DANIEL DEFENSE, INC; OASIS OUTBACK, LLC, into the 2:23-CV-00015-

AM case (ECF DOC. 22). Plaintiffs have not yet served either complaint in an effort to move
          Case 2:23-cv-00014-AM Document 27 Filed 06/02/23 Page 2 of 9




forward in the most efficient manner to preserve judicial resources. Should the court grant

PLAINTIFFS’ ex parte motion for leave to file second amended complaint filed in the companion

case 2:23-CV-00015-AM (ECF DOC. 22), Plaintiff will immediately serve the amended complaint

on all defendants and dismiss the 2:23-CV-00014-AM action as moot.

                           FACTS AND PROCEDURAL HISTORY

Initial Complaints

       On or around November 29, 2022, Plaintiffs filed two actions seeking justice for the

horrible mass shooting that occurred on May 24, 2022, at Robb Elementary School in Uvalde TX.

JASMINE C., an individual and on behalf of M.C., a minor and her child, et al. v DANIEL

DEFENSE, LLC; DANIEL DEFENSE, INC; OASIS OUTBACK, LLC case no. 2:23-CV-00014-

AM 1 (hereinafter referred to as “GUN SUPPLIER CASE 23-CV-14”) seeks compensation from

the gun manufacturer and gun retailer. J.P., a minor, et al. v. THE UVALDE CONSOLIDATED

INDEPENDENT SCHOOL DISTRICT, et al. case no. 2:23-CV-00015-AM (hereinafter referred to

as the “MUNICIPAL ENTITY CASE 23-CV-15”) seeks compensation from the various municipal

entities that failed to protect the Robb Elementary School students and staff.

Amendments and Motions to Dismiss GUN SUPPLIER CASE 23-CV-14

        On February 17, 2023, despite not having been served with the complaint, Defendant

Daniel Defense filed their Motion to Dismiss for lack of subject matter jurisdiction (ECF DOC

11). In response to this motion, on February 22, 2023, Plaintiffs filed their Amended Complaint

(ECF DOC 14), which attempted to cure the jurisdictional issues. Ninety days from the date of the




1
 This case was filed in the Western District of Texas, Austin Division and was initially given the
case number 1:22-cv-01251.
                                                 2
          Case 2:23-cv-00014-AM Document 27 Filed 06/02/23 Page 3 of 9




initial filing of the complaint, November 29, 2022, was February 27, 2023. Plaintiffs filed their

Amended Complaint prior to the running of the 90-day deadline under Fed. R. Civ. P. 4(m).

       On February 23, 2023, Plaintiffs received Issued Summons from the Court (ECF DOC 15).

Pursuant to Fed. R. Civ. P. 4(m)

       On March 8, 2023, 13 days after Plaintiffs received the summons and absent service,

Defendant Daniel Defense filed their Amended Motion to Dismiss (ECF DOC 20) again, arguing

a lack of subject matter jurisdiction.

       After reviewing Defendant’s motion, on March 22, 2023, Plaintiffs filed a motion for an

extension of time to file a response to the motion (ECF DOC 21). On March 29, 2023, the Court

issued an Order granting Plaintiffs’ motion for an extension of time to file a response (ECF DOC

22). Plaintiffs sought this extension of time to further research the most efficient path forward.

Recognizing that simply opposing the motion to dismiss (ECF DOC 20) could be a waste of

judicial resources.

       Plaintiffs determined that the most efficient path forward would be to consolidate the

claims in the GUN SUPPLIER CASE 23-CV-14 case with the claims in the MUNICIPAL

ENTITY CASE 23-CV-15. To this end, on March 31, 2023, Plaintiffs filed an ex parte motion for

leave to file a second amended complaint in the MUNICIPAL ENTITY CASE 23-CV-15 (ECF

DOC 22, MUNICIPAL ENTITY CASE 23-CV-15). This motion was outside of the 90-day time

period from filing the initial complaint but prior to the running of 90-days from filing the Amended

Compliant (ECF DOC 14) on February 22, 2023 2.




2
  The filing of an amended complaint does not restart the clock with respect to the time allowed
for timely service under Rule 4(m). Bustinza v. Perez, No. B-09-231, 2013 U.S. Dist. LEXIS
204538, at *27 n.38 (S.D. Tex. 2013)
                                                 3
           Case 2:23-cv-00014-AM Document 27 Filed 06/02/23 Page 4 of 9




        On April 3, 2023, Plaintiffs filed a memorandum in opposition to Defendant Daniel

Defenses’ motion to dismiss, (ECF DOC 23) in the GUN SUPPLIER CASE 23-CV-14, alerting

the Court to the Plaintiffs’ plan to consolidate the two actions into one. Plaintiffs stated on page

2:

                Thus, were the Court to grant Plaintiffs’ Motion for Leave to Amend,
        Plaintiffs would henceforth and forthwith dismiss this present action, 2:23-cv-
        00014 and promptly serve their Second Amended Complaint on Defendants’
        Daniel Defense LLC, Oasis Outback LLC, as well as the entirety of name
        defendants including the newly named federal defendants under Case number,
        2:23-cv-00015.

        On April 10, 2023 Defendant Daniel Defense filed an Advisory to the Court, (ECF DOC

24) stating, inter alia, the following:

                1. Daniel Defense agrees not to oppose Plaintiffs’ Motion for Leave in J.P.
                2. If and when the Court grants Plaintiffs leave to file their Second
        Amended Complaint in J.P., Plaintiffs agree to dismiss Daniel Defense from this
        case without prejudice. Further, Daniel Defense will execute a waiver of service
        in J.P. Pursuant to Federal Rule of Civil Procedure 4(d)(3), Daniel Defense will
        have 60 days from that date to file their responsive pleading.
        Plaintiffs Ex Parte

        As of the Court’s Order to Show Cause on May 19, 2023, the Court has not yet granted or

denied Plaintiffs’ ex parte motion for leave to file a Second Amended Complaint.

Amendments and Motions to Dismiss MUNICIPAL ENTITY CASE 23-CV-15

        On February 1, 2023, despite not having been served with the complaint, Defendant Mandy

Gutierrez filed her Motion to Dismiss Plaintiffs' Class Action Complaint Pursuant to Rules 12(B)(1)

and (6), (ECF DOC 11).

        On February 22, 2023, Plaintiffs filed their Amended Complaint, which added additional

plaintiffs and Defendants. (ECF DOC 15). Ninety days from the date of the initial filing of the



                                                 4
          Case 2:23-cv-00014-AM Document 27 Filed 06/02/23 Page 5 of 9




complaint, November 29, 2022, was February 27, 2023. Plaintiffs filed their Amended Complaint

prior to the running of the 90-day deadline under Fed. R. Civ. P. 4(m).

      On February 24, 2023 The Court Issued Summons as to Pedro Arrendondo, Joel Betancourt,

Eduardo Canales, Daniel Coronado, Victor Escalon, Adrian Gonzalez, Mandy Gutierrez, Louis

Landry, Juan Maldonado, Javier Martinez, Steven McGraw, Justin Mendoza, Ruben Nolasco,

Donald Page, Mariano Pargas, Jesus "J.J." Suarez, Texas Department of Public Safety, City of

Uvalde, Uvalde City Police Department, Uvalde Consolidated Independent School District,

Uvalde Consolidated Independent School District Police Department, (ECF DOC 18).

       On February 27, 2023, absent service, Defendant Mandy Gutierrez filed her MOTION to

Dismiss Plaintiffs' Amended Class Action Complaint Pursuant to Rules 12(B)(1) and (6), (ECF

DOC 19). After meeting and conferring with Counsel for Defendant Mandy Gutierrez, Plaintiffs

stipulated to dismiss Mandy Gutierrez from the case. On March 13, 2023, Plaintiffs filed a

stipulation of dismissal of Mandy Gutierrez (ECF DOC 21).

       As discussed above, on March 31, 2023 Plaintiffs filed a motion seeking leave to file a

second amended complaint, (EFC DOC 22 MUNICIPAL ENTITY CASE 23-CV-15) to

consolidate the two actions.

                                          ARGUMENT

       The facts and procedural history set forth above, provide good cause as to why Plaintiffs

have not yet served all defendants. Federal Rule of Civil Procedure 4(m) provides that, "[i]f a

defendant is not served within 90 days after the complaint is filed, the court—on motion or on its

own after notice to the plaintiff—must dismiss the action without prejudice against that defendant

or order that service be made within a specified time." Fed. R. Civ. P. 4(m).




                                                5
          Case 2:23-cv-00014-AM Document 27 Filed 06/02/23 Page 6 of 9




       Rule 4(m) permits a district court to dismiss a case without prejudice if the plaintiff fails

to serve the defendant within 120 days of filing the complaint. Thompson v. Brown, 91 F.3d 20,

21 (5th Cir. 1996). If, however, the plaintiff can establish good cause for failing to serve the

defendant, the court must extend the time for service. Id. Even if the plaintiff lacks good cause,

the court has discretionary power to extend the time for service. Id. To establish 'good cause,' a

plaintiff must demonstrate at least as much would be required to show excusable neglect, and

simple inadvertence or mistake of counsel or ignorance of the rules usually does not suffice."

Lindsey v. U.S. R.R. Retirement Bd., 101 F.3d 444 (5th Cir. 1996). "Excusable neglect" is an

equitable determination that takes into account all relevant circumstances surrounding the party's

omission. Halicki v. La. Casino Cruises, Inc., 151 F.3d 465, 468 (5th Cir. 1998). These

circumstances include the danger of prejudice to the claimant, the length of delay and its potential

impact on judicial proceedings, the reason for the delay, including whether it was within the

reasonable control of the movant, and whether the movant acted in good faith. Id.

       Here, good cause is shown by the Plaintiffs’ efforts to address deficiencies in the GUN

SUPPLER CASE 23-CV-14 by consolidating the claims with the MUNICIPAL ENTITY CASE

23-CV-15. The failure to serve was not based on simple inadvertence or mistake of counsel or

ignorance of the rules but was the result of procedural steps that took time to resolve. For example,

having been put on notice of the jurisdictional deficiencies in the GUN SUPPLER CASE 23-CV-

14, by Defendant Daniel Defense, prior to service, Plaintiffs took action to resolve the deficiencies

by seeking leave to file a second amended complaint. While the filing of an amended complaint

does not restart the clock with respect to the time allowed for timely service under Rule 4(m)

(Bustinza v. Perez, No. B-09-231, 2013 U.S. Dist. LEXIS 204538, at *27 n.38 (S.D. Tex. 2013)),

it was reasonable for the Plaintiffs to wait for the court to rule on the motion to file a second



                                                 6
          Case 2:23-cv-00014-AM Document 27 Filed 06/02/23 Page 7 of 9




amended complaint before serving a complaint that could be moot before the defendants had an

opportunity to respond.

       The Plaintiffs have been diligently litigating this case. One element of “excusable neglect”

is the length of the delay and its potential impact on judicial proceedings. Halicki,151 F.3d at 468.

Here, the majority of the defendants in both cases should have been served by February 27, 2023.

Only three months have elapsed since the serve-by date. No party has made an appearance, and

no judicial proceedings have occurred. No party will be prejudiced because they missed a court

proceeding because they were not served.

       Finally, the facts and procedural history set forth above establish that the Plaintiffs have

been acting in good faith. See Id. Plaintiffs seek to move forward in the most efficient manner

possible. Plaintiffs have met and conferred with different defendants to amend the complaint and

dismiss parties. Plaintiffs have not been idling sitting on their hands, hoping to gain some

advantage by stalling.

                                         CONCLUSION

       For the reasons stated above, there is good cause to extend the time for Plaintiffs to serve

their complaints. Plaintiffs therefore request the court to order a date by which Plaintiffs must

serve all Defendants. Plaintiffs request that this date be after the Court issues an order on the

Motion to File a Second Amended Complaint.

Dated: June 2, 2023                           Respectfully Submitted,
                                              /s/ Charles A. Bonner
RYDER LAW FIRM                                LAW OFFICES OF BONNER & BONNER
JESSE RYDER (pro hac forthcoming)             CHARLES A. BONNER
6739 Myers Road                               CABRAL BONNER
E. Syracuse, NY 13057                         475 Gate Five Rd., Suite 211
Tel: (515) 382-3617                            Sausalito, Ca 94965e-mail:
ryderlawfirm@gmail.com                        Tel: (415) 331-3070




                                                 7
         Case 2:23-cv-00014-AM Document 27 Filed 06/02/23 Page 8 of 9




EVANS LAW OFFICE P.P.L.C.           Fax: (415) 331-2738
JERRY EVANS                         e-mail: cbonner799@aol.com
127 N. West Street                  e-mail: cabral@bonnerlaw.come-mail:
Uvalde, Texas 78801                 e-mail: eseifert00@hotmail.com
Tel: (830) 900-5021
e-mail: devanslawoffice@gmai.com    Legal Center of Jose Angel Gutierrez, P.C.
                                    JOSE ANGEL GUTIERREZ
THE BONNER LAW FIRM, P.C.           429 W. 12th Street
VICTOR BONNER                       Dallas, Texas 75208
4820 Old Spanish Trail              Tel: 214-745-5400
Houston, Texas 77021                e-mail: joseangelgutierrez@yahoo.com
Tel: (832) 433-6565
e-mail: vmbonner@yahoo.com




                                      8
          Case 2:23-cv-00014-AM Document 27 Filed 06/02/23 Page 9 of 9




                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on or about June 2, 2023, a true and accurate copy of

Plaintiffs’ Motion for Extension of Time was served on counsel of record via the CM/ECF

system.

       Respectfully Submitted,

       /s/Charles A. Bonner

       LAW OFFICES OF BONNER & BONNER
       CHARLES A. BONNER
       CABRAL BONNER
       475 Gate Five Rd., Suite 211
       Sausalito, Ca 94965
       Tel: (415) 331-3070
       Fax: (415) 331-2738
       e-mail: cbonner799@aol.com
       e-mail: cabral@bonnerlaw.com




                                              9
